Case 7:18-cv-00091-MFU-RSB Document 43 Filed 07/10/19 Page 1 of 1 Pageid#: 138

                                                                          CLERK'SOFFICE U.
                                                                                         S.DIMTLCG IRT
                                                                                   AT ROANOKE,VA
                                                                                        FILED
                         IN TH E UNITED STATES DISTRICT COURT                      JUL 29 2g1S
                                                                                   07/10/2019
                        FO R TH E W ESTERN DISTR ICT OF VIR G IN IA
                                    R O AN O K E DIV ISIO N                   JUL     . UDLR C ERK
                                                                             BY;


 A LISON H ESTER,
                     Plaintiff,

                                                   CivilActionN o.: 7:l8-cv-91
 CARILION CLINIC M EDICAL PLAN and
 A ETNA LIFE IN SU M N CE COM PAN Y ,

                     Defendants.


                                      FIN A L O R DER

         InaccordancewithRule41(a)(1)(A)(ii)oftheFederalRulesofCivilProcedure,andthe
 PartiesV vingfiledaJoin Stipulation ofDismissal,itisORDERED and ADJUDGED thatthis
 case isDISM ISSED W ITH PREJUDICE, with each party responsible fortheitown legalfees

 and expenses.

         TheClerk isdirected to send certified copiesofthisOrderto al1cotmselofrecord.

                                             Entered:DV of 2-0/1
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                                                  M ' elF.U anski
                                                   hiefUnited States DistdctJudge'




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